                            Case 23-10718-CTG                       Doc 1         Filed 06/04/23             Page 1 of 32


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               PGX Holdings, Inc.



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       257 East 200 South
                                       Number              Street                                     Number         Street

                                       Suite 1200
                                                                                                      P.O. Box
                                       Salt Lake City                     Utah      84111
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Salt Lake County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 Progrexion.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                               Case 23-10718-CTG                  Doc 1         Filed 06/04/23           Page 2 of 32
Debtor            PGX Holdings, Inc.                                                  Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5419 - Other Professional, Scientific, and Technical Services

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☐      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                             Case 23-10718-CTG                      Doc 1        Filed 06/04/23          Page 3 of 32
Debtor           PGX Holdings, Inc.                                                   Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                      Relationship    Affiliate
                                                     Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?
   List all cases. If more than 1,                   District      District of Delaware                             When            06/04/2023
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                          Number       Street



                                                                                          City                              State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)               ☐     100-199                      ☐       10,001-25,000                  ☒     More than 100,000
                                      ☐     200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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                                0
                                                          0




                      06/04/2023




         37/s/389Domenic E. Pacitti                           

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                           Case 23-10718-CTG            Doc 1      Filed 06/04/23   Page 5 of 32




 Fill in this information to identify the case:
                                                                       ,
 United States Bankruptcy Court for the:
                             District of Delaware
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                            Chapter   11                                         amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of PGX Holdings, Inc.

        PGX Holdings, Inc.
        Credit Repair UK, Inc.
        Credit.com, Inc.
        Creditrepair.com Holdings, Inc.
        Creditrepair.com, Inc.
        eFolks Holdings, Inc.
        eFolks, LLC
        John C. Heath, Attorney At Law PC
        Progrexion ASG, Inc.
        Progrexion Holdings, Inc.
        Progrexion IP, Inc.
        Progrexion Marketing, Inc.
        Progrexion Teleservices, Inc.
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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                       )
    In re:                                             )      Chapter 11
                                                       )
    PGX HOLDINGS, INC.,                                )      Case No. 23-___________(___)
                                                       )
                               Debtor.                 )
                                                       )

                                     LIST OF EQUITY SECURITY HOLDERS1

                                                                                         Percentage of
                   Equity Holder                   Address of Equity Holder
                                                                                          Equity Held
                                                 257 East 200 South, Suite 1200
                 PGX TopCo, LLC                                                              90.72%
                                                    Salt Lake City, UT 84111
                                                   4288 S Summerwood Drive
               Sage Enterprises, LLC                                                         1.23%
                                                      Bountiful, UT 84010
                   James Agnew                                 On file                       0.85%

                    Jon Pexton                                 On file                       0.85%

               Justin Randy Padawer                            On file                       0.71%
              Highlander Management               13551 S. Tuscalee Hill Circle
                                                                                             0.53%
                    Group, LLC                         Draper, UT 84020
                                                          259 E 7th Ave
             Concord Licensing, L.L.C.                                                       0.52%
                                                    Salt Lake City, UT 84103
                     Tim Emery                                 On file                       0.44%

                 Eugene Abernethy                              On file                       0.36%
             Blue Prairie Family Limited              671 Somerset Street
                                                                                             0.26%
                    Partnership                      Farmington, UT 84025
                 Terry Kealamakia                              On file                       0.22%

                    Jason Owen                                 On file                       0.20%

                  Jeffrey Johnson                              On file                       0.19%
                                                           5 Oak Lane
        Grayson Madeline Holdings LLC                                                        0.18%
                                                     Richmond, VA 23226
                                                  175 S Main Street Suite 1030
              Rivendell Holdings LLC                                                         0.18%
                                                    Salt Lake City, UT 84111
                  William Farmer                               On file                       0.16%
         Kevin Moon, as Trustee of the
                                                               On file                       0.15%
            AKM Revocable Trust

1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
          Case 23-10718-CTG    Doc 1    Filed 06/04/23        Page 7 of 32



                                                                       Percentage of
       Equity Holder              Address of Equity Holder
                                                                        Equity Held
         Jesse Beal                          On file                         0.15%

         Ty Weston                           On file                         0.15%

       Matthew Grant                         On file                         0.13%

        John Itokazu                         On file                         0.12%
                                      1960 Broadway #6
     JRJ Associates, Inc.                                                    0.12%
                                   San Francisco, CA 94109
                                      1960 Broadway #6
    Tribeca Holdings, LLC                                                    0.11%
                                   San Francisco, CA 94109
                                 13551 S. Tuscalee Hill Circle,
Triton Management Group, LLC                                                 0.10%
                                      Draper, UT 84020
         David Lord                          On file                         0.09%

        Judith Morris                        On file                         0.09%

      Russell Wheeler                        On file                         0.08%

         Taylor Rose                         On file                         0.08%
                                    3933 Saddleback Road
    Amherst Group, LLC                                                       0.07%
                                     Park City, UT 84098
       Richard Horne                         On file                         0.05%

         Joel Brough                         On file                         0.05%

        Jeffrey Revoy                        On file                         0.05%

      Kelly Etherington                      On file                         0.05%

       Khang Nguyen                          On file                         0.04%

        Jared Hartley                        On file                         0.04%

       Todd Ellsworth                        On file                         0.04%

       Gregory Moye                          On file                         0.04%

        Emily Madsen                         On file                         0.04%
                                       9455 S Highway 89
         Lvate, LLC                                                          0.04%
                                       Jackson, WY 83001
                                       1207 Hillside Ave #2
       4th Core L.L.C.                                                       0.04%
                                        Austin, TX 78704
         Scott Smith                         On file                         0.03%
                                  298 East Eagle Ridge Drive
         Eclips, LLC                                                         0.03%
                                  North Salt Lake, UT 84054
                                    458 Hidden Lake Drive
  Axis Consulting Group LLC                                                  0.03%
                                     Bountiful, UT 84010
        Case 23-10718-CTG      Doc 1   Filed 06/04/23     Page 8 of 32



                                                                   Percentage of
      Equity Holder               Address of Equity Holder
                                                                    Equity Held
      Adam Wetzel                           On file                      0.03%

     Jacob Hamilton                         On file                      0.03%

       Sjon Benson                          On file                      0.03%

     Gregrey Ralphs                         On file                      0.03%

     Lance Lindskov                         On file                      0.02%

       Kirk Nielson                         On file                      0.02%

         JR Curtis                          On file                      0.02%

       Steve Jones                          On file                      0.02%

        Nina Kwon                           On file                      0.02%

       Mike Nelson                          On file                      0.02%

       Brett Garlick                        On file                      0.02%
                                   1138 South Augusta Way
Olympus Consulting, L.L.C.                                               0.02%
                                 Salt Lake City, UT 84108-2006
                                       2208 Oneida Street
Stillwater Financial, L.L.C.                                             0.15%
                                   Salt Lake City, UT 84109
        Trung Lam                           On file                      0.01%

    John Rasmussen                          On file                      0.01%

       Mark Bailey                          On file                      0.01%

       Russell Hall                         On file                      0.01%

       Brian Orme                           On file                      0.01%

     Larkin Beauchat                        On file                      0.01%

     Marshall Marriott                      On file                      0.01%

        Bob Smith                           On file                      0.01%

      Devan Raynor                          On file                      0.01%

       Shane Arnell                         On file                      <0.01%

      Skylar J. Kuan                        On file                      <0.01%

     Kade L. Brough                         On file                      <0.01%

      Kip W. Klingler                       On file                      <0.01%
         Case 23-10718-CTG      Doc 1   Filed 06/04/23   Page 9 of 32



                                                                  Percentage of
       Equity Holder               Address of Equity Holder
                                                                   Equity Held
     Preston McFarland                      On file                     <0.01%
     Thomas Underdown
                                            On file                     <0.01%
         Peggy Davis
                                            On file                     <0.01%
Katherine MacCabe, as Trustee
of the MacCabe Family Wealth                On file                     <0.01%
            Trust
               Case 23-10718-CTG            Doc 1     Filed 06/04/23       Page 10 of 32



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 PGX HOLDINGS, INC.,                                  )      Case No. 23-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

               Shareholder                                Approximate Percentage of Shares Held
              PGX TopCo, LLC                                             90.72%
                                                                Case 23-10718-CTG                              Doc 1               Filed 06/04/23                           Page 11 of 32



     Fill in this information to identify the case:
     Debtor name PGX Holdings, Inc., et al,
     United States Bankruptcy Court for the: The District of Delaware
                                                                                                                                                                                            
     Case number (If known): ______________                                                                                                                                                      Check if this is an amended
                                                                                                                                                                                                filing


     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
     Unsecured Claims and Are Not Insiders
     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. §
     101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

     Name of creditor and complete mailing address, including zip code        Name, telephone number, and email address of creditor Nature of the claim (for  Indicate if claim is              Amount of unsecured claim
                                                                              contact                                               example, trade debts,    contingent,                        if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                    bank loans, professional unliquidated, or                   amount. If claim is partially secured, fill in total claim amount
                                                                                                                                    services, and government disputed                           and deduction for value of collateral or setoff to calculate
                                                                                                                                    contracts)                                                  unsecured claim.
                                                                                                                                                                                                Total claim, if        Deduction for value Unsecured claim
                                                                                                                                                                                                partially secured      of collateral or setoff


                                                                              ATTN: MAUREEN MCCOWN
     CONSUMER FINANCIAL PROTECTION BUREAU
                                                                              TITLE: ENFORCEMENT ATTORNEY                                                                     CONTINGENT,
 1 1700 G STREET, NW                                                                                                                                 LITIGATION                                                                                     UNDETERMINED
                                                                              PHONE: 202‐435‐9202                                                                            UNLIQUIDATED
     WASHINGTON, DC 20552
                                                                              EMAIL: MAUREEN.MCOWEN@CFPB.GOV

                                                                              ATTN: JESSICA HAWTHORNE‐CASTRO
     HAWTHORNE DIRECT, LLC
                                                                              TITLE: CHIEF EXECUTIVE OFFICER
     1201 WEST 5TH ST
 2                                                                            PHONE: 310‐844‐0606                                                  TRADE PAYABLE                                                                                $          1,249,215
     SUITE T230
                                                                              EMAIL:
     LOS ANGELES, CA 90017
                                                                              JESSICA.HAWTHORNECASTRO@HAWTHORNEDIRECT.COM

     HEXAWARE TECHNOLOGIES LTD
                                                                              ATTN: DIVYA PRADEEPKUMAR
     BLDG 152
                                                                              TITLE: SENIOR EXECUTIVE
 3 MILLENNIUM BUSINESS PARK                                                                                                                        TRADE PAYABLE                                                                                $            640,672
                                                                              PHONE: 91‐22‐67919595
     MAHAPE, NAVI MUMBAI
                                                                              EMAIL: DIVYAP@HEXAWARE.COM
     MAHARASHTRA, 0 400 710, INDIA

     ARGANO, LLC                                                              ATTN: CHIP REGISTER
     6100 W PLANO PARKWAY                                                     TITLE: CHIEF EXECUTIVE OFFICER
 4                                                                                                                                                 TRADE PAYABLE                                                                                $            606,979
     SUITE 1800                                                               PHONE: 214‐778‐2104
     PLANO, TX 75093                                                          EMAIL: CHIP.REGISTER@ARGANO.COM


                                                                              ATTN: CHRISTOPHER A. CARTWRIGHT
   TRANS UNION INC                                                            TITLE: PRESIDENT AND CHIEF EXECUTIVE OFFICER
 5 555 W. ADAMS STREET                                                        PHONE: 312‐985‐2000                                                  TRADE PAYABLE                                                                                $            566,216
   CHICAGO, IL 60661                                                          EMAIL: CCARTWRIGHT@TRANSUNION.COM
                                                                              FAX: 312‐466‐7986

                                                                              ATTN: LLOYD PITCHFORD
     EXPERIAN                                                                 TITLE: CHIEF FINANCIAL OFFICER
 6 PO BOX 881971                                                              PHONE: 714‐830‐7000                                                  TRADE PAYABLE                                                                                $            427,861
     LOS ANGELES, CA 90088‐1971                                               EMAIL: LLOYD.PITCHFORD@EXPERIANGROUP.COM
                                                                              FAX: 714‐830‐2449

                                                                              ATTN: SEAN MULLER
     ISPOT.TV, INC
                                                                              TITLE: FOUNDER AND CHIEF EXECUTIVE OFFICER
 7 15831 NE 8TH ST #100                                                                                                                            TRADE PAYABLE                                                                                $            284,300
                                                                              PHONE: 425‐590‐9727
     BELLEVUE, WA 98008
                                                                              EMAIL: SEAN.MULLER@ISPOT.TV

                                                                              ATTN: MIKO LACSAMANA
     MICROSOFT ONLINE, INC.
                                                                              TITLE: SENIOR ACCOUNT MANAGER
 8 ONE MICROSOFT WAY                                                                                                                               TRADE PAYABLE                                                                                $            237,520
                                                                              PHONE: 888‐725‐1047
     REDMOND, WA 98052
                                                                              EMAIL: MIKOL@MICROSOFT.COM

     FICO (FAIR ISAAC CORPORATION)                                            ATTN: WILL LANSING
     3661 VALLEY CENTRE DRIVE                                                 TITLE: CHIEF EXECUTIVE OFFICER
 9                                                                                                                                                 TRADE PAYABLE                                                                                $            230,475
     SUITE 500                                                                PHONE: 408‐817‐9100
     SAN DIEGO, CA 92130                                                      EMAIL: WLANSING@FICO.COM

                                                                              ATTN: KING WHITE
     SITE SELECTION GROUP
                                                                              TITLE: CHIEF EXECUTIVE OFFICER
 10 8235 DOUGLAS AVE #500                                                                                                                          TRADE PAYABLE                                                                                $            207,270
                                                                              PHONE: 214‐271‐0582
     DALLAS, TX 75205
                                                                              EMAIL: KWHITE@SITESELECTIONGROUP.COM

                                                                              ATTN: WALTER LITTLE
    FACEBOOK INC.                                                             TITLE: ACCOUNT MANAGER, GLOBAL BUSINESS GROUP ‐ META
 11 151 N FRANKLIN ST.                                                        ADVERTISING                                                          TRADE PAYABLE                                                                                $            197,216
    CHICAGO, IL 60606                                                         PHONE: 240‐602‐0139
                                                                              EMAIL: WALTERLITTLE@META.COM

                                                                              ATTN: DAN BALSAM
     SHARONDA TAYLOR C/O THE LAW OFFICES OF DANIEL BALSAM
                                                                              TITLE: COUNSEL
 12 2601C BLANDING AVENUE #271                                                                                                                   LEGAL SETTLEMENT                                                                               $            155,070
                                                                              PHONE: (415) 265‐1123
     ALAMEDA, CA 94501
                                                                              EMAIL: LEGAL@DANBALSAM.COM




Official Form 204                                                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                  Page 1
                                                      Case 23-10718-CTG                                  Doc 1                Filed 06/04/23                           Page 12 of 32
Debtor __PGX Holdings, Inc, et al.,_________________________                                                                                                                                   Case number (if known)_____________________________________




      Name of creditor and complete mailing address, including zip code   Name, telephone number, and email address of creditor Nature of the claim (for  Indicate if claim is             Amount of unsecured claim
                                                                          contact                                               example, trade debts,    contingent,                       if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                bank loans, professional unliquidated, or                  amount. If claim is partially secured, fill in total claim amount
                                                                                                                                services, and government disputed                          and deduction for value of collateral or setoff to calculate
                                                                                                                                contracts)                                                 unsecured claim.
                                                                                                                                                                                           Total claim, if        Deduction for value Unsecured claim
                                                                                                                                                                                           partially secured      of collateral or setoff


                                                                          ATTN: DAN BALSAM
      SANDRA WILSON C/O THE LAW OFFICES OF DANIEL BALSAM
                                                                          TITLE: COUNSEL
 13 2601C BLANDING AVENUE #271                                                                                                              LEGAL SETTLEMENT                                                                               $            143,781
                                                                          PHONE: (415) 265‐1123
      ALAMEDA, CA 94501
                                                                          EMAIL: LEGAL@DANBALSAM.COM

                                                                          ATTN: GREGG JOHNSON
      INVOCA, INC
                                                                          TITLE: CHIEF EXECUTIVE OFFICER
 14 1025 CHAPALA STREET                                                                                                                       TRADE PAYABLE                                                                                $             90,133
                                                                          PHONE: 877‐635‐0792
      SANTA BARBARA, CA 93101
                                                                          EMAIL: GJOHNSON@INVOCA.COM

      DRIPS HOLDINGS LLC                                                  ATTN: AARON CHRISTOPHER EVANS
      1700 W MARKET ST                                                    TITLE: CHIEF EXECUTIVE OFFICER
 15                                                                                                                                           TRADE PAYABLE                                                                                $             74,570
      SUITE 173                                                           PHONE: 512‐643‐7477
      AKRON, OH 44308                                                     EMAIL: AC@DRIPS.COM


                                                                          ATTN: ANDY WAKEFIELD
      HOODOO DIGITAL, LLC
                                                                          TITLE: CO‐FOUNDER
 16 132 SOUTH STATE ST                                                                                                                        TRADE PAYABLE                                                                                $             73,818
                                                                          PHONE: 801‐896‐9667
      SALT LAKE CITY, UT 84111
                                                                          EMAIL: ANDY@HOODOO.DIGITAL


    THOMAS ABLAO
                                                                          ATTN: THOMAS ABLAO
    DBA NOBLE CONNECTIONS
                                                                          TITLE: MANAGING PARTNER
 17 2750 E OAK HILL DR                                                                                                                        TRADE PAYABLE                                                                                $             61,750
                                                                          PHONE:
    UNIT 31
                                                                          EMAIL: EMAIL ON FILE
    ONTARIO, CA 91761


      CALCULATED RESEARCH & TECHNOLOGY                                    ATTN: TIM AGUILAR
      629 E QUALITY DR                                                    TITLE: FOUNDER AND CHIEF EXECUTIVE OFFICER
 18                                                                                                                                           TRADE PAYABLE                                                                                $             58,570
      SUITE 201                                                           PHONE: 801‐222‐0930
      AMERICAN FORK, UT 84003                                             EMAIL: TIMA@CR‐T.COM

                                                                          ATTN: ERIC COHEN
      MERCHANT ADVOCATE LLC
                                                                          TITLE: CHIEF EXECUTIVE OFFICER
      281 ROUTE 34
 19                                                                       PHONE: 888‐890‐8822                                                 TRADE PAYABLE                                                                                $             22,930
      SUITE 101
                                                                          EMAIL: ERIC@MERCHANTADVOCATE.COM
      COLTS NECK, NJ 07722
                                                                          FAX: 732‐862‐1129

      AMERICA ONE FUNDING (QUINSTREET)                                    ATTN: ALEX YUNERMAN
      950 TOWER LANE                                                      TITLE: SENIOR VICE PRESIDENT ‐ QUINSTREET
 20                                                                                                                                           TRADE PAYABLE                 UNLIQUIDATED                                                       UNDETERMINED
      6TH FLOOR                                                           PHONE: 408‐568‐1690
      FOSTER CITY, CA 94404                                               EMAIL: AYUNERMAN@QUINSTREET.COM

                                                                          ATTN: AMANDA COLEMAN
      ATWAVE, LLC
                                                                          TITLE: FOUNDER AND CHIEF EXECUTIVE OFFICER
 21 804 OCEAN DRIVE                                                                                                                           TRADE PAYABLE                 UNLIQUIDATED                                                       UNDETERMINED
                                                                          PHONE: 855‐890‐3313
      MIAMI BEACH, FL 33139
                                                                          EMAIL: AMANDA@ATWAVE.COM


      BLACKOPTEK CE, INC. (CALL ENGINE INC.)                              ATTN: RYAN MCVEY
      3780 14TH AVENUE                                                    TITLE: CHIEF EXECUTIVE OFFICER
 22                                                                                                                                           TRADE PAYABLE                 UNLIQUIDATED                                                       UNDETERMINED
      SUITE 209                                                           PHONE: 866‐943‐1485
      MARKHAM, ON L3R 9Y5 CANADA                                          EMAIL: RYAN@CALLENGINE.COM


                                                                          ATTN: BILLY NESS
      BRADLEY LEAD GROUP
                                                                          TITLE: OWNER
 23 1195 MADDOX CT                                                                                                                            TRADE PAYABLE                 UNLIQUIDATED                                                       UNDETERMINED
                                                                          PHONE: 303‐919‐6901
      WESTMINSTER, CO 80023
                                                                          EMAIL: BILLYNESS@BRADLEYLEADGROUP.COM

      CICOLA INVESTMENTS (NORTH POINT DIRECT)                             ATTN: ROY CICOLA
      12540 BROADWELL ROAD                                                TITLE: PRINCIPLE
 24                                                                                                                                           TRADE PAYABLE                 UNLIQUIDATED                                                       UNDETERMINED
      SUITE 2201                                                          PHONE: 917‐601‐0420
      MILTON, GA 30004                                                    EMAIL: ROY@NORTHPOINTDIRECT.COM

      CREDIT SESAME, INC.                                                 ATTN: ADRIAN NAZARI
      444 CASTRO STREET                                                   TITLE: FOUNDER AND CHIEF EXECUTIVE OFFICER
 25                                                                                                                                           TRADE PAYABLE                 UNLIQUIDATED                                                       UNDETERMINED
      SUITE 500                                                           PHONE:
      MOUNTAIN VIEW, CA 94041                                             EMAIL: ANAZARI@CREDITSESAME.COM

                                                                          ATTN: MARK BEGOR
      EQUIFAX CONSUMER SERVICES
                                                                          TITLE: CHIEF EXECUTIVE OFFICER
 26 1550 PEACHTREE STREET NW                                                                                                                  TRADE PAYABLE                 UNLIQUIDATED                                                       UNDETERMINED
                                                                          PHONE: 404‐885‐8732
      ATLANTA, GA 30309
                                                                          EMAIL: MARK.BEGOR@EQUIFAX.COM

                                                                          ATTN: BROOKS ARUNDEL
    GOOGLE INC.                                                           TITLE: ACCOUNT EXECUTIVE, NEW BUSINESS STRATEGY
    DEPT 33654                                                            GOOGLE CUSTOMER SOLUTIONS
 27                                                                                                                                           TRADE PAYABLE                 UNLIQUIDATED                                                       UNDETERMINED
    PO BOX 39000                                                          PHONE: (703) 835‐4607
    SAN FRANCISCO, CA 94139                                               EMAIL: BARUNDEL@GOOGLE.COM
                                                                          FAX: 650‐253‐0001




Official Form 204                                                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                  Page 2
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Debtor __PGX Holdings, Inc, et al.,_________________________                                                                                                                                   Case number (if known)_____________________________________




      Name of creditor and complete mailing address, including zip code   Name, telephone number, and email address of creditor Nature of the claim (for  Indicate if claim is             Amount of unsecured claim
                                                                          contact                                               example, trade debts,    contingent,                       if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                bank loans, professional unliquidated, or                  amount. If claim is partially secured, fill in total claim amount
                                                                                                                                services, and government disputed                          and deduction for value of collateral or setoff to calculate
                                                                                                                                contracts)                                                 unsecured claim.
                                                                                                                                                                                           Total claim, if        Deduction for value Unsecured claim
                                                                                                                                                                                           partially secured      of collateral or setoff


      LENDING TREE                                                        ATTN: DOUG LEBDA
      1415 VANTAGE PARK DRIVE                                             TITLE: FOUNDER AND CHIEF EXECUTIVE OFFICER
 28                                                                                                                                           TRADE PAYABLE                 UNLIQUIDATED                                                     UNDETERMINED
      SUITE 700                                                           PHONE: 800‐505‐7916
      CHARLOTTE, NC 28203                                                 EMAIL: DOUG.LEBDA@LENDINGTREE.COM


      TY WESTON
 29 ADDRESS ON FILE                                                       NOTICE ON FILE                                                   SEVERANCE PAYABLE                UNLIQUIDATED                                                     UNDETERMINED



                                                                          ATTN: MUZAFFAR ABBAS
      ULTRA98
                                                                          TITLE: CHIEF EXECUTIVE OFFICER
 30 421‐721 KEELE ST.                                                                                                                         TRADE PAYABLE                 UNLIQUIDATED                                                     UNDETERMINED
                                                                          PHONE: 647‐781‐4849
      CONCORD, ON L4K1Z8 CANADA
                                                                          EMAIL: MUZAFFAR@ULTRA98.COM




Official Form 204                                                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                  Page 3
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    Fill in this information to identify the case and this filing:

   Debtor Name          PGX Holdings, Inc.

   United States Bankruptcy Court for the:                District of Delaware
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       06/04/2023                                 /s/ Chad Wallace
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Chad Wallace
                                                                                 Printed name
                                                                                 Chief Executive Officer and President
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                         Execution Version


                   OMNIBUS UNANIMOUS WRITTEN CONSENT
                       IN LIEU OF A SPECIAL MEETING OF
                       THE SOLE MEMBER AND MANAGER,
               BOARDS OF DIRECTORS, OR MAJORITY STOCKHOLDER


                                              June 4, 2023

        The undersigned, being the (i) sole member and the manager of the company listed on
Schedule 1, (ii) applicable board of directors of each of the companies listed on Schedule 2
attached hereto (the companies in clauses (i) and (ii), each, a “Company” or a “Filing Entity” and,
collectively, the “Companies” or the “Filing Entities”) (each governing body in clauses (i) and (ii),
a “Board”), and (iii) the applicable holder of a majority of the common stock of the Company
listed on Schedule 3 attached hereto (the “Stockholder”), hereby take the following actions and
adopts the following resolutions by unanimous written consent, in lieu of a special meeting of each
Board or stockholder, as applicable, pursuant to each Company’s limited liability company
agreement or bylaws, as applicable (the “Governing Agreement”), and the respective laws of the
state of formation of each Company:

                    CONFIRMATION OF DIRECTORS AND OFFICERS

        RESOLVED, that each of the individuals set forth on Exhibit A attached hereto shall
serve as a director or officer, as applicable, as set forth by their name, for each such Filing Entity.

                                       CHAPTER 11 FILING

         WHEREAS, each Board has considered presentations by such Filing Entity’s management
(the “Management”) and financial and legal advisors (collectively, the “Advisors”) regarding the
liabilities and liquidity of such Filing Entity, the strategic alternatives available to it, and the effect
of the foregoing on each Filing Entity’s business;

      WHEREAS, each Board has had the opportunity to consult with Management and the
Advisors and has fully considered each of the strategic alternatives available to each Filing Entity;
and

       WHEREAS, in accordance with the Governing Agreement of PGX Holdings, Inc., the
Stockholder must approve certain actions taken by the Board thereof, including the voluntary filing
for bankruptcy or other insolvency proceedings on account of PGX Holdings, Inc. and its
subsidiaries.

NOW, THEREFORE, BE IT:

        RESOLVED, that in the business judgment of each Board (and with the approval of the
Stockholder in accordance with the applicable Governing Agreement), it is desirable and in the
best interests of each Filing Entity (including a consideration of its creditors and other parties in
interest) that each Filing Entity shall be, and hereby is, in all respects, authorized to file, or cause
to be filed, a voluntary petition for relief commencing a case (the “Chapter 11 Cases”) under the
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provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) or other court of competent jurisdiction; and

        RESOLVED, that any of the Chief Executive Officer, President, Chief Financial Officer,
any Executive Vice President, General Counsel, and Secretary or any other duly-appointed officer
of each Filing Entity (collectively, the “Authorized Signatories”), acting alone or with one or more
other Authorized Signatories be, and they hereby are, authorized, empowered, and directed to
execute and file on behalf of each Filing Entity all petitions, schedules, lists, and other motions,
papers, or documents, and to take any and all action that they deem necessary or proper to obtain
such relief, including, without limitation, any action necessary to maintain the ordinary course
operation of each Filing Entity’s business.

                              RETENTION OF PROFESSIONALS

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis
International LLP (together, “Kirkland”), as bankruptcy counsel, to represent and assist each Filing
Entity in carrying out its duties under the Bankruptcy Code, and to take any and all actions to
advance each Filing Entity’s rights and obligations, including filing any motions, objections,
replies, applications, or pleadings; and in connection therewith, each of the Authorized Signatories,
with power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of Kirkland;

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the law firm of Klehr Harrison Harvey Branzburg LLP (“Klehr Harrison”),
as local bankruptcy counsel, to represent and assist each Filing Entity in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance each Filing Entity’s rights
and obligations, including filing any motions, objections, replies, applications, or pleadings; and
in connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of Klehr Harrison;

       RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of Alvarez & Marsal North America, LLC (“A&M”), as financial
advisor, to represent and assist each Filing Entity in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance each Filing Entity’s rights and obligations; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to retain the services of A&M;

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of Greenhill & Co., LLC (“Greenhill”), as investment banker, to
represent and assist each Filing Entity in carrying out its duties under the Bankruptcy Code, and
to take any and all actions to advance each Filing Entity’s rights and obligations; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and


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directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services of Greenhill;

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of Kurtzman Carson Consultants LLC (“KCC”), as notice and
claims agent, to represent and assist each Filing Entity in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Filing Entity’s rights and
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed appropriate applications for authority to retain the
services of KCC;

       RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of Landis Rath & Cobb LLP (“Landis Rath & Cobb”), as conflicts
counsel, to represent and assist each Filing Entity in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance each Filing Entity’s rights and obligations; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed appropriate applications for authority to retain the services of Landis Rath &
Cobb;

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ any other professionals to assist each Filing Entity in carrying out its duties
under the Bankruptcy Code; and in connection therewith, each of the Authorized Signatories, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary; and

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, with power
of delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Signatories
deem necessary, proper, or desirable in connection with each Filing Entity’s Chapter 11 Case, with
a view to the successful prosecution of such case.

SUPERPRIORITY SECURED DEBTOR-IN-POSSESSION FINANCING AGREEMENT

        WHEREAS, PGX Holdings, Inc., a Delaware corporation (“Holdings”), Progrexion
Holdings, Inc., a Delaware corporation (“Progrexion”), Credit.com, Inc., a Delaware corporation
(“Credit.com”), eFolks Holdings, Inc., a Delaware corporation (“Efolks”), Creditrepair.com
Holdings, Inc., a Delaware corporation (“Creditrepair.com”, and together with Progrexion,
Credit.com and Efolks, collectively, the “Borrowers” and each, a “Borrower”), each Guarantor
signatory thereto, Blue Torch Finance LLC, in its capacity as Agent for the DIP Lenders (in such
capacity, together with its successors and assigns, the “DIP Agent”), and each lender from time to
time party thereto (collectively, the “DIP Lenders”) propose to enter into that certain Superpriority




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Secured Debtor-In-Possession Financing Agreement, dated as of the date hereof (the “DIP
Financing Agreement”);

       WHEREAS, the obligation of the DIP Lenders to make Loans to the Borrowers under the
DIP Financing Agreement and the other DIP Loan Documents (as defined below) is subject to
each Company having satisfied certain conditions described in the DIP Financing Agreement;

        WHEREAS, the Borrowers have requested that the Lenders party thereto provide a senior
secured, superpriority debtor-in-possession term loan facility available in multiple draws as set
forth herein to the Borrowers, consisting of (i) an interim term loan facility and (ii) a final delayed
draw term loan facility in an aggregate maximum principal amount of (clauses (i) and (ii) hereof,
the “New Money DIP Facility”) and (iii) a roll-up facility, representing a roll-up of Prepetition
First Lien Obligations (clause (iii) hereof, the “Roll-Up DIP Facility” and together with the New
Money DIP Facility, the “DIP Facility”); and

       WHEREAS, each Company will receive benefits from the Loans and other extension of
credit made by the DIP Lenders to the Borrowers under the DIP Financing Agreement and the
other DIP Loan Documents, which are necessary and convenient to the conduct, promotion and
attainment of the business of such Company.

       NOW, THEREFORE, BE IT:

        RESOLVED, that (i) the form, terms and provisions of the DIP Financing Agreement and
each other instrument or document to be delivered thereunder or otherwise in connection
therewith, including, without limitation, each of the instruments and documents listed below
(collectively, “DIP Loan Documents” and each, a “DIP Loan Document”), substantially in the
form delivered pursuant to the DIP Financing Agreement, (ii) each Company’s execution and
delivery of the DIP Loan Documents, and (iii) each Company’s performance of its respective
obligations (including, without limitation, any guarantee and/or grant of security interests) under
the DIP Loan Documents, in each case, be, and hereby is, in all respects, confirmed, authorized,
ratified and approved:

       (a)     The DIP Financing Agreement

       (b)     any notes in connection with the DIP Financing Agreement;

       (c)     any fee letter in connection with the DIP Financing Agreement;

       (d)     any security agreement in connection with the DIP Financing Agreement;

       (e)     the Interim Order;

       (f)     the Final Order;

       (g)     any intercreditor agreement in connection with the DIP Financing Agreement;

       (h)     any commitment letter in connection with the DIP Financing Agreement;



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       (i)     any guarantee in connection with the DIP Financing Agreement;

       (j)     Uniform Commercial Code financing statements, fixture filings, and other
               instruments as may be reasonably requested by the DIP Agent or as may be
               necessary or appropriate to create, preserve and perfect the security interests
               purported to be created by the DIP Loan Documents;

       (k)     such other security agreements, pledge agreements, deeds of trust, mortgages,
               notices, financing statements, tax affidavits, reaffirmation agreements, and other
               instruments as the DIP Agent may reasonably request or as may be necessary or
               appropriate to create, preserve and perfect the liens purported to be required
               pursuant to the DIP Loan Documents to be created in the Collateral as collateral
               security for the payment of obligations, advances, debts or liabilities related to each
               Company’s obligations;

       (l)     such agreements with third parties (including, without limitation, bank agency
               agreements, motor vehicle perfection agreements, lockbox agreements, blocked
               account agreements, control agreements, credit card notices, customs broker
               agreements, landlord agreements and warehouse letters) relating to the Collateral
               as the DIP Agent may reasonably request or as may be necessary or appropriate to
               create, preserve and perfect the liens purported to be required pursuant to the DIP
               Loan Documents to be created in the Collateral as collateral security for the
               payment of obligations, advances, debts or liabilities related to each Company’s
               obligations;

       (m)     any other Collateral Documents (as defined in the DIP Financing Agreement); and

       (n)     such other documents, agreements, loan documents (including without limitation
               any Loan Document as defined in the DIP Financing Agreement), instruments,
               certificates, notices and assignments as may be reasonably requested by the DIP
               Agent or Lenders or contemplated by the DIP Financing Agreement or any other
               DIP Loan Document;

        RESOLVED, that each of the Authorized Signatories, acting alone or with one or more
other Authorized Signatory be, and hereby is, authorized, empowered and directed to negotiate,
make, execute, acknowledge, verify, issue, deliver, and to cause each Company of which he or she
is a Authorized Signatory to perform its respective obligations under the DIP Financing
Agreement, each of the other DIP Loan Documents, and each of the instruments and documents
contemplated thereby, in the name and on behalf of such Company, under its company seal or
otherwise, substantially in the forms reviewed by the undersigned, with such additions, deletions,
corrections and revisions on the terms and conditions thereof as the Authorized Signatory
executing and delivering the same shall approve by the execution and delivery thereof, with such
execution by said Authorized Signatory to constitute conclusive evidence of such Authorized
Signatory’s approval of the terms thereof, including any departures therein from the form
presented to the Governing Bodies;




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        RESOLVED, that, in accordance with the terms and conditions of the DIP Financing
Agreement and at the times and in the manner specified therein, as applicable, the Borrowers may
borrow from the DIP Lenders such amounts as may be available to it thereunder, such borrowings
to have the maturity, to be payable and prepayable and bear interest at the rates specified in the
DIP Financing Agreement, and that each of the Authorized Signatories at the time in office acting
singly is authorized, on behalf of the Borrowers, to cause such Borrowers to make the borrowings
contemplated by the DIP Financing Agreement, the making of such borrowings to be conclusive
evidence that the same has been authorized by each Governing Body;

        RESOLVED, that each Guarantor be and hereby is, authorized to guarantee the payment
and performance of the obligations, liabilities and indebtedness of the Borrowers arising under,
out of, or in connection with, the DIP Financing Agreement or one or more other DIP Loan
Documents executed and delivered in connection therewith, and any amendments of such DIP
Financing Agreement or other DIP Loan Documents;

       RESOLVED, that each Company will obtain benefits from the receipt of the Loans made
by the DIP Lenders to the Borrowers and the other obligations under the DIP Financing
Agreement and the other DIP Loan Documents, and each Company’s guarantee thereof, which
are necessary and convenient to support the conduct, promotion and attainment of the business of
such Company;

        RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
empowered to take all such further actions including, without limitation, to make all payments and
remittances and to incur all fees and expenses, on behalf of each Company of which he or she is a
Authorized Signatory, in connection with any transaction contemplated by these resolutions, such
payment to conclusively evidence the necessity or appropriateness thereof, to arrange for and enter
into supplemental agreements, amendments, instruments, certificates or other documents relating
to the transactions contemplated by the DIP Financing Agreement or any of the DIP Loan
Documents and to execute and deliver all such supplemental agreements, amendments,
instruments, certificates or other documents, in the name and on behalf of each Company of which
he or she is a Authorized Signatory, under its respective company seal or otherwise, which shall
in their sole judgment be necessary, proper or advisable in order to perform such Company’s
obligations under or in connection with the DIP Financing Agreement or any of the DIP Loan
Documents and the transactions contemplated therein, and to carry out fully the intent of the
foregoing resolutions;

       RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
empowered to take all actions, in the name of each Company of which he or she is a Authorized
Signatory, with respect to the transactions contemplated by these resolutions as the sole
shareholder, partner, member, manager, or managing member of each direct subsidiary of such
Company, in each case, as such Authorized Signatory shall deem necessary or desirable in such
Authorized Signatory’s reasonable business judgment, including, without limitation, the
authorization of resolutions and agreements necessary to authorize the execution, delivery and
performance pursuant to any DIP Loan Document (including, without limitation, affidavits,
financing statements, notices, reaffirmations and amendments and restatements of existing
documents) as may be necessary or convenient to effectuate the purposes of the transactions
contemplated herein;


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        RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
empowered to execute and deliver, perform (or cause to perform) or otherwise approve any
amendments, amendment and restatements, supplements, modifications, renewals, replacements,
consolidations, substitutions and extensions of the DIP Loan Documents, in each case, in the name
of and on behalf of each Company of which he or she is a Authorized Signatory, which shall in
their sole judgment be necessary, proper or advisable;

       RESOLVED, that all acts and actions taken by each Company or the Authorized
Signatories prior to the date hereof with respect to the transactions contemplated by the DIP
Financing Agreement and any of the other DIP Loan Documents be, and hereby are, in all respects
confirmed, approved and ratified; and

       RESOLVED, that all capitalized terms used in the resolutions under the caption
“SUPERPRIORITY SECURED DEBTOR-IN-POSSESSION FINANCING AGREEMENT” and
not otherwise defined in these resolutions shall have the meanings ascribed to such terms in the
DIP Financing Agreement.

        APPROVAL OF THE RESTRUCTURING SUPPORT AGREEMENT AND
                       RESTRUCTURING MATTERS

        WHEREAS, each Board has reviewed and considered certain materials presented by, or
on behalf of, Management and the Advisors regarding that certain restructuring support agreement
(as may be amended, supplemented, or modified from time to time, the “Restructuring Support
Agreement”) and certain materials including, but not limited to, materials regarding the liabilities,
obligations and liquidity of the Filing Entities, the strategic and financial alternatives available to
the Filing Entities, and the impact of the foregoing on the Filing Entities’ businesses and operations
and the businesses and operations of the Filing Entities’ affiliates;

        WHEREAS, the Restructuring Support Agreement contemplates that the Filing Entities
will, among other things, file a voluntary petition for relief (the “Bankruptcy Petition”) pursuant
to the Bankruptcy Code;

         WHEREAS, each Board has reviewed and considered presentations by Management and
the Advisors regarding the advantages and disadvantages of the debtor-in-possession financing
facility and other transactions contemplated in the Restructuring Support Agreement;

       WHEREAS, each Board has also reviewed, evaluated and considered drafts of the
Restructuring Support Agreement presented to each such Board;

        WHEREAS, each Board has had adequate opportunity to consult with Management and
Advisors regarding the materials and documentation presented, to obtain additional information,
and to fully consider each of the strategic alternatives available to the Filing Entities; and

        WHEREAS, each Board has determined that the following resolutions and the actions,
transactions and documentation contemplated thereby are advisable and in the best interests of the
Filing Entities, their respective Stockholder or member, the Filing Entities’ creditors and the other
parties in interest.



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        NOW, THEREFORE, BE IT HEREBY

        RESOLVED, that each Board has considered its fiduciary duties under applicable law in
exercising its powers and discharging its duties, to act honestly and in good faith with a view to
the best interests of the Filing Entities as a whole, and to exercise the care, diligence, and skill that
a reasonably prudent person would exercise in comparable circumstances;

        RESOLVED, that in the judgment of each Board, it is desirable and in the best interests
of the Filing Entities, the Stockholder or members, the Filing Entities’ creditors and the other
parties in interest that the Filing Entities shall be, and hereby is, in all respects approved and
authorized to file, or cause to be filed, the Bankruptcy Petition under the provisions of chapter 11
of the Bankruptcy Code (including all matters contemplated by the Restructuring Support
Agreement and the postpetition credit facility memorialized by the DIP Financing Agreement and
any of the other DIP Loan Documents (the “DIP Financing”), including any auction, sales process,
merger, business combination, reorganization, recapitalization, asset sale, equity sale or other
fundamental transaction contemplated thereby, collectively, the “Restructuring Matters”) in the
Bankruptcy Court for the Filing Entities; and, in accordance with the requirements of the
shareholders’ and the Filing Entities’ governing documents and applicable law, hereby consent to,
authorize, approve, confirm and ratify all actions in connection with, the filing of the Bankruptcy
Petition;

        RESOLVED, that any duly-appointed officer of the Filing Entities (acting at the direction
of each Board or in a good faith manner consistent with its recommendations), each acting
individually and with full power of substitution be, and hereby is, authorized and approved to
execute and file on behalf of the Filing Entities all agreements, certificates, instruments, powers
of attorneys, letters, forms, deeds, mortgages, resolutions, consents, petitions, schedules, lists, and
other motions, papers, materials or documents, and to take any and all action that such Authorized
Signatory deems necessary or proper to obtain such relief, including, but not limited to, any action
necessary or proper to maintain the ordinary course operations of the Filing Entities;

        RESOLVED, that in the judgment of each Board, it is desirable and in the best interests
of the Filing Entities, the Stockholder or the members, the Filing Entities’ creditors and the other
parties in interest that the Filing Entities and the other parties thereto enter into the Restructuring
Support Agreement (substantially in the form presented to each Board, with such changes as
approved by one or more Authorized Signatories, such approval to be conclusively established by
such Authorized Signatory’s execution and delivery or taking thereof) and that the Filing Entities’
performance of its obligations under the Restructuring Support Agreement be and hereby is, in all
respects, authorized, approved, confirmed and ratified;

        RESOLVED, that in the judgment of each Board, it is desirable and in the best interests
of the Filing Entities, the Stockholder or the members, the Filing Entities’ creditors and the other
parties in interest, that the Authorized Signatories, acting individually and with full power of
substitution, be, and hereby is, authorized, approved, empowered and directed, to take all actions
(including, without limitation, to negotiate and execute any agreements, documents, or certificates)
necessary to undertake and enter into the Restructuring Support Agreement (including the DIP
Financing) and to consummate the transactions contemplated thereby, including without
limitation, the negotiation and documentation of the chapter 11 plan, the incurrence of


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indebtedness, assumption of obligations, rejection of obligations, sale of the Companies, sale of
equity or assets, merger, liquidation, or other transactions contemplated thereby) and all exhibits,
schedules, attachments, and ancillary documents or agreements related thereto (each in the form
and upon the terms as such Authorized Signatory may approve, such approval to be conclusively
established by such Authorized Signatory's execution and delivery or taking thereof), and that such
Companies’ entry into and performance of its obligations in respect thereof, is, in all respects,
authorized, approved, confirmed and ratified;

       RESOLVED, that each of the Authorized Signatories, acting individually and with full
power of substitution, be, and hereby is, authorized, approved, empowered and directed, together
with the Advisors, to file all other documents deemed necessary to confirm a plan, including, but
not limited to, any amendments to and modifications of such plan; and

        RESOLVED, that each of the Authorized Signatories, acting individually and with full
power of substitution, be, and hereby is, authorized, approved, empowered and directed, to take or
cause to be taken any and all such other and further action, and to execute, acknowledge, deliver,
and file any and all such instruments as each, in his or her discretion, may deem necessary or
advisable in order to consummate the plan, if confirmed by the Bankruptcy Court, and all
transactions contemplated by the Restructuring Support Agreement and the plan (including,
without limitation, the incurrence of indebtedness, rejection of obligations, sale of the Filing
Entities, sale or equity or assets, merger liquidation, or other transactions that may be in furtherance
of the plan).

                  CASH COLLATERAL AND ADEQUATE PROTECTION

        RESOLVED, that the Filing Entities will obtain benefits from the use of collateral,
including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”), which is security for certain prepetition term lenders (collectively,
the “Lenders”) under the First Lien Financing Agreement, dated as of July 20, 2021 (as amended,
restated, amended and restated, supplemented or otherwise modified prior to the date hereof, the
“Credit Agreement”), among PGX Holdings, Inc., a Delaware corporation (the “Parent”), the
Borrowers, the other Guarantors party thereto from time to time, the Lenders party thereto from
time to time, and Blue Torch Finance LLC, a Delaware limited liability company, as
Administrative Agent and Collateral Agent (“Blue Torch”) and the Second Lien Financing
Agreement, dated as of July 21, 2021 (as amended, restated, amended and restated, supplemented
or otherwise modified prior to the date hereof, the “Credit Agreement”), among the Parent, the
Borrowers, the other Guarantors party thereto from time to time, the Lenders party thereto from
time to time, and Prospect Capital Corporation, a Maryland corporation (“Prospect”), as
Administrative Agent and Collateral Agent (Blue Torch and Prospect, together with the Lenders,
the “Secured Parties”);

        RESOLVED, that in order to use and obtain the benefits of the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, the Filing Entities will provide certain liens,
claims, and adequate protection to the Secured Parties (the “Adequate Protection Obligations”), as
documented in a proposed order in interim and final form (the “Cash Collateral Order”) and
submitted for approval to the Bankruptcy Court;



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        RESOLVED, that the form, terms, and provisions of the Cash Collateral Order to which
the Filing Entities are or will be subject, and the actions and transactions contemplated thereby be,
and hereby are authorized, adopted, and approved, and each of the Authorized Signatories of the
Filing Entities be, and hereby is, authorized and empowered, in the name of and on behalf of the
Filing Entities, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform, and cause the performance of, the Cash Collateral Order; and

       RESOLVED, that the Filing Entities, as debtors and debtors in possession under the
Bankruptcy Code be, and hereby are, authorized to incur the Adequate Protection Obligations,
including granting liens on its assets to secure such obligations.

                             STALKING HORSE AGREEMENT

        WHEREAS, in accordance with the Restructuring Support Agreement, certain of the
parties that constitute the DIP Lenders (together, the “Stalking Horse Bidder”) and the Companies
have negotiated the terms of that certain asset purchase agreement (the “APA”) to govern the
Stalking Horse Bidder’s purchase of substantially all of the Companies’ assets, as set forth in the
APA (the “Purchased Assets”), subject to the Companies’ receipt of a higher or otherwise better
offer and a “fiduciary out;”

        WHEREAS, the Board has reviewed the APA (together with the other certificates,
documents, agreements, and schedules contemplated under the APA, the “APA Documents”), and
after due consideration and deliberation, determined that each of the transactions contemplated by
the APA and the APA Documents (the “APA Transactions”) are advisable and in the best interests
of each of the Companies, their respective stockholder or member, their creditors and the other
parties in interest; and

        WHEREAS, the APA Transactions is subject to the Companies filing a motion
(the “Sale Motion”) with the Bankruptcy Court, seeking, among other things, approval of an
auction process that will govern the marketing and sale of the Purchased Assets through certain
bidding procedures to the Stalking Horse Bidder or another bidder with the highest or otherwise
best offer (such bidder, the “Successful Bidder”).

       NOW, THEREFORE, BE IT,

        RESOLVED, that the Companies are authorized to enter into the APA Documents and
APA with the Stalking Horse Bidder for the sale of the Purchased Assets and to undertake any and
all related transactions contemplated thereby, including the APA Transactions and an auction
(if any), on the terms contained therein or on such other terms and conditions as the Authorized
Signatories, or any of them, in their, his or her sole discretion, determine to be necessary,
appropriate or desirable;

       RESOLVED, that each of the Authorized Signatories of each of the Companies be, and
hereby are, authorized, directed, and empowered in the name of, and on behalf of, each such
Company to execute the APA and APA Documents, and to execute and file, on behalf of the
Companies, the Sale Motion with the Bankruptcy Court; and




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       RESOLVED, that each of the Authorized Signatories of each of the Companies be, and
hereby are, authorized, directed, and empowered in the name of, and on behalf of, each such
Company to conduct an auction (if any) through the bidding procedures as approved by the
Bankruptcy Court pursuant to the Sale Motion and to negotiate, for and on behalf of the
Companies, such agreements, documents, assignments and instruments as may be necessary,
appropriate or desirable in connection with the sale to the Successful Bidder.

                                            GENERAL

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be,
and they hereby are, individually authorized and empowered, in the name of and on behalf of each
Filing Entity, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, including but not limited to filing fees, in each case as in such
Authorized Signatory’s judgment, shall be necessary, advisable, convenient, or desirable in order
to fully carry out the intent and accomplish the purposes of the resolutions adopted herein;

        RESOLVED, that each Board has received sufficient notice of the actions and transactions
relating to the matters contemplated by the foregoing resolutions, as may be required by the
organizational documents of each Filing Entity, or hereby waive any right to have received such
notice;

        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of each Filing Entity, which acts
would have been approved by the foregoing resolutions except that such acts were taken before
the adoption of these resolutions, are hereby in all respects approved and ratified as the true acts
and deeds of each Filing Entity with the same force and effect as if each such act, transaction,
agreement, or certificate has been specifically authorized in advance by resolution of each Board;
and

       RESOLVED, that each of the Authorized Signatories (and their designees and delegates)
be, and hereby is, authorized and empowered to take all actions or to not take any action in the
name of each Filing Entity with respect to the transactions contemplated by these resolutions
hereunder, as such Authorized Signatory shall deem necessary or desirable in such Authorized
Signatory’s reasonable business judgment as may be necessary or convenient to effectuate the
purposes of the transactions contemplated herein.



                                                ***




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                    IN WITNESS WHEREOF, the undersigned represents that the Board has executed this
            written consent as of the date above first written.


                                                                     EFOLKS HOLDINGS, INC., being the sole
                                                                     member and the manager of the Company
                                                                     listed on Schedule 1


                                                                     By: ______________________________
                                                                     Name: Chad Wallace
                                                                     Title: Chief Executive Officer




                                                 [Signature Page to Omnibus Consent]
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                     IN WITNESS WHEREOF, the undersigned represents that the Board has executed this
             written consent as of the date above first written.




                                                                       Sebastien Cervinka



                                                                       Michael DeVico



                                                                       Eugene Davis


                                                                       BEING ALL OF THE MEMBERS OF THE
                                                                       BOARD OF DIRECTORS OF EACH
                                                                       COMPANY LISTED ON SCHEDULE 2




                                                  [Signature Page to Omnibus Consent]
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                    IN WITNESS WHEREOF, the undersigned represents that the Board has executed this
            written consent as of the date above first written.




                                                                     Sebastien Cervinka



                                                                     Michael DeVico



                                                                     Eugene Davis


                                                                     BEING ALL OF THE MEMBERS OF THE
                                                                     BOARD OF DIRECTORS OF EACH
                                                                     COMPANY LISTED ON SCHEDULE 2




                                                 [Signature Page to Omnibus Consent]
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                     IN WITNESS WHEREOF, the undersigned represents that the Board has executed this
             written consent as of the date above first written.




                                                                       Sebastien Cervinka



                                                                       Michael DeVico



                                                                       Eugene Davis


                                                                       BEING ALL OF THE MEMBERS OF THE
                                                                       BOARD OF DIRECTORS OF EACH
                                                                       COMPANY LISTED ON SCHEDULE 2




                                                 [Signature Page to Omnibus Consent]
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                    IN WITNESS WHEREOF, the undersigned has executed this consent as of the date
             above first written.


                                                                       PGX TOPCO LLC



                                                                       By: ________________________________
                                                                       Name: Sebastien Cervinka
                                                                       Its: Manager




                                                                       BEING THE HOLDERS OF A MAJORITY
                                                                       OF THE OUTSTANDING COMMON
                                                                       STOCK OF EACH COMPANY LISTED
                                                                       ON SCHEDULE 3




                                                  [Signature Page to Omnibus Consent]
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                                  SCHEDULE 1

                      Company                               Jurisdiction
1.    eFolks, LLC                                            Delaware


                                  SCHEDULE 2

                       Company                              Jurisdiction
1.    eFolks Holdings, Inc.                                  Delaware
2.    Progrexion Marketing, Inc.                             Delaware
3.    Progrexion Teleservices, Inc.                          Delaware
4.    Progrexion ASG, Inc.                                   Delaware
5.    Progrexion IP, Inc.                                    Delaware
6.    Credit.com, Inc.                                       Delaware
7.    Creditrepair.com, Inc.                                  Florida
8.    Credit Repair UK, Inc.                                 Delaware
9.    Creditrepair.com Holdings, Inc.                        Delaware
10.   Progrexion Holdings, Inc.                              Delaware
11.   PGX Holdings, Inc.                                     Delaware


                                  SCHEDULE 3

                     Company                                Jurisdiction
1.    PGX Holdings, Inc.                                     Delaware
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                                   EXHIBIT A

   ENTITIES                           OFFICERS                       DIRECTORS
 PGX Holdings, Inc.      Chad Wallace – Chief Executive Officer    Sebastien Cervinka
                         Michael DeVico – Executive Chairman        Michael DeVico
                         Jared Hartley – Chief Financial Officer     Eugene Davis
Credit Repair UK, Inc.   Chad Wallace – Chief Executive Officer    Sebastien Cervinka
                         Michael DeVico – Executive Chairman        Michael DeVico
                         Jared Hartley – Chief Financial Officer     Eugene Davis
   Credit.com, Inc.      Chad Wallace – Chief Executive Officer    Sebastien Cervinka
                         Michael DeVico – Executive Chairman        Michael DeVico
                         Jared Hartley – Chief Financial Officer     Eugene Davis
  Creditrepair.com       Chad Wallace – Chief Executive Officer    Sebastien Cervinka
   Holdings, Inc.        Michael DeVico – Executive Chairman        Michael DeVico
                         Jared Hartley – Chief Financial Officer     Eugene Davis
Creditrepair.com, Inc.          John Itokazu – President           Sebastien Cervinka
                               Chad Wallace – Secretary             Michael DeVico
                                                                     Eugene Davis
eFolks Holdings, Inc.    Chad Wallace – Chief Executive Officer    Sebastien Cervinka
                         Michael DeVico – Executive Chairman        Michael DeVico
                         Jared Hartley – Chief Financial Officer     Eugene Davis
    eFolks, LLC          Chad Wallace – Chief Executive Officer           N/A
                         Michael DeVico – Executive Chairman
                         Jared Hartley – Chief Financial Officer
Progrexion ASG, Inc.     Chad Wallace – Chief Executive Officer    Sebastien Cervinka
                         Michael DeVico – Executive Chairman        Michael DeVico
                         Jared Hartley – Chief Financial Officer     Eugene Davis
     Progrexion          Chad Wallace – Chief Executive Officer    Sebastien Cervinka
    Holdings, Inc.       Michael DeVico – Executive Chairman        Michael DeVico
                         Jared Hartley – Chief Financial Officer     Eugene Davis
 Progrexion IP, Inc.     Chad Wallace – Chief Executive Officer    Sebastien Cervinka
                         Michael DeVico – Executive Chairman        Michael DeVico
                         Jared Hartley – Chief Financial Officer     Eugene Davis
    Progrexion           Chad Wallace – Chief Executive Officer    Sebastien Cervinka
   Marketing, Inc.       Michael DeVico – Executive Chairman        Michael DeVico
                         Jared Hartley – Chief Financial Officer     Eugene Davis
     Progrexion          Chad Wallace – Chief Executive Officer    Sebastien Cervinka
  Teleservices, Inc.     Michael DeVico – Executive Chairman        Michael DeVico
                         Jared Hartley – Chief Financial Officer     Eugene Davis
